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                  From,
                  Maria Jeanie Martins
                  362 Centre St,
                  Brockton, MA 02302
                  +1 (508) 726-5127

                  To,
                  The Judge,

                  Subject: Letter of Support for the Release of Johnnie Martin



                  Honorable Judge ,

                  I am writing this letter in full support of Johnnie Martin and his release from
                  incarceration. As his sister-in-law, I can confidently speak to his character, values,
                  and the significant impact he has had on his family and community.
                  Johnnie has always been a dedicated and hardworking individual who has prioritized
                  his family and those around him. His integrity, kindness, and commitment to
                  bettering himself have been evident throughout his life. Even in challenging
                  circumstances, he has maintained strong relationships with his loved ones and
                  remained a positive influence on those who know him.
                  Beyond his personal attributes, Johnnie is deeply loved and respected by his family.
                  I, along with our entire family, stand by him and are prepared to provide the support
                  he needs to reintegrate successfully into society. We are committed to ensuring he
                  has a stable environment and the resources necessary to rebuild his life.
                  I have been in business for 27 years as a real estate broker and have dedicated much
                  of my time to philanthropy, giving back to the community in various ways.
                  Additionally, I am a successful real estate investor and own several properties in the
                  Brockton, MA area where we anticipate and have prepared for Johnnie to return. I
                  have set aside one property specifically where we intend for Johnnie to reside with
                  his 76-year-old mother and his two young grandchildren by his eldest son, Johnnie
                  Martin III, who is currently incarcerated and expected to be away for some time.
                  Johnnie will be their primary caretaker, and as a family, we are strongly united to see
                  this through.
                  Reuniting Johnnie with his family will not only provide him with the stability he
                  needs but will also allow him to continue contributing positively to those around
                  him. With our unwavering support, he has a strong foundation to help him transition
                  back into everyday life successfully. The community will greatly benefit from his
                  presence, wisdom, and dedication to making a positive difference.


                           Case 3:07-cr-00051-TAV-HBG    Document 967-3   Filed 03/27/25   Page 1 of 2
                                                         PageID #: 9048
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                  I sincerely ask that you consider Johnnie’s positive attributes, his strong family ties,
                  and his readiness to reintegrate into society. His release will not only restore a
                  valuable family member but also allow him to continue making an impact on those
                  who depend on him.
                  Thank you for your time and consideration. Please feel free to reach out if any
                  further information is needed.

                  Sincerely,
                  Maria Jeanie Martins
                  02-24-2025

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                  Maria Jeanie Martins




                           Case 3:07-cr-00051-TAV-HBG                            Document 967-3   Filed 03/27/25   Page 2 of 2
                                                                                 PageID #: 9049
